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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                                        )         Crim. No. 4:19-CR-172
                                                                 )
                  v.                                             )         GOVERNMENT’S
                                                                 )         SENTENCING
RUBY KATHERINE MONTOYA,                                          )         MEMORANDUM
                                                                 )
                  Defendant.                                     )         FILED UNDER SEAL

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                                               INTRODUCTION

         Montoya and codefendant Reznicek conspired to destroy and sabotage the

Dakota Access Pipeline (DAPL) in South Dakota and Iowa. As part of the agreement,

Montoya and Reznicek engaged in a series of extremely dangerous actions including

using accelerants to set fire to numerous construction vehicles and using an acetylene

torch to burn holes in the pipeline. Their actions were calculated to both prevent the

DAPL from being constructed, and influence or affect the conduct of the United States

government by intimidation or coercion, and/or to retaliate against government

conduct. The Court should impose a sentence of 96 months’ imprisonment.



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                       ADVISORY GUIDELINES RANGE

      The PSR correctly calculates the advisory guidelines range as follows:

      Base offense level (§2K1.4(a)(4))              23
      Terrorism Enhancement (§3A1.4(a))             +12
      Acceptance of responsibility (§3E1.1)           -3
      Total offense level                             32

      Criminal History                                VI

      Guidelines range:          210-240 months’ imprisonment

      1. The PSR is factually accurate as written

      Defendant objects to inclusion of information pertaining to attacks on the

DAPL prior to November 8, 2016, as set forth in PSR ¶¶ 10-13. Given the similar

nature and location of these attacks on the DAPL, the information contained therein

is relevant to sentencing and should be considered by the court.

      2. The offense was intended to promote a federal crime of terrorism

      Defendant objects to terrorism enhancement under USSG §3A1.4(a)

(PSR ¶ 37) because her conduct was not “calculated to influence or affect the conduct

of government by intimidation or coercion, or to retaliate against government

conduct.” 18 U.S.C. § 2332b(g)(5)(A). This conclusion is contrary to Montoya’s own

statements and should be rejected by the Court.

      Section 3A1.4 provides: (a) If the offense is a felony that involved, or was

intended to promote, a federal crime of terrorism, increase by 12 levels; but if the

resulting offense level is less than level 32, increase to level 32. The term “federal

crime of terrorism” as defined in 18 U.S.C. § 2332b(g) as “an offense that: (A) is

calculated to influence or affect the conduct of government by intimidation or



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coercion, or to retaliate against government conduct; and (B) is a violation of section

... 1366(a) (relating to destruction of an energy facility)....

       “A defendant has the requisite intent if he or she acted with the purpose of

influencing or affecting government conduct and planned his or her actions with this

objective in mind.” United States v. Hassan, 742 F.3d 104, 148–49 (4th Cir. 2014).

“Section 2332b(g)(5)(A) does not focus on the defendant but on his ‘offense,’ asking

whether it was calculated, i.e., planned—for whatever reason or motive—to achieve

the stated object.” United States v. Mohamed, 757 F.3d 757, 760 (8th Cir. 2014)

quoting United States v. Awan, 607 F.3d 306, 317 (2d Cir. 2010).

       On July 24, 2017, Defendants Montoya and Reznicek released a public

statement wherein they admitted to committing numerous acts of vandalism and

sabotage to the Dakota Access Pipeline (DAPL) in Iowa and South Dakota.

(PSR ¶ 28). Shortly thereafter, Montoya and Reznicek publicly read their statement

in front of the Iowa Utilities Board (Ex. 53, 54), the state government agency

responsible for regulating1 utilities to ensure that reasonably priced, reliable,



1 Oil and gas pipelines are regulated by both federal and state agencies across the
United States. Interstate pipelines are managed by the Federal Energy Regulatory
Commission (FERC) and the U.S. Department of Transportation (DOT). The Federal
Energy Regulatory Commission regulates pipelines, storage, natural gas
transportation in interstate commerce, and liquefied natural gas facility construction.
It also oversees operation of pipeline facilities at U.S. points of entry for natural gas
imports and exports and analyzes environmental impacts of natural gas projects.
Once natural gas pipeline projects are operating, the Department of Transportation’s
Pipeline and Hazardous Material Safety Administration (PHMSA), acting through
the Office of Pipeline Safety (OPS), regulates, monitors, and enforces safety. The OPS
collaborates with partnering agencies and departments to ensure pipeline operation
safety, security, monitoring, and compliance. Although the federal government is
responsible for developing, issuing and enforcing pipeline safety regulations, most


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environmentally responsible, and safe utility services are available to all Iowans.2

(PSR ¶ 28; Ex. 2).

      The defendant’s written statement clearly identifies the government as the

target of their destructive conduct. While the statement begins by describing DAPL

as an issue that affects the entire nation, Montoya and Reznicek quickly pivot to what

they clearly perceive to be the larger issue, namely: “the rule of law, indigenous

sovereignty, land seizures, state-sanctioned brutality, as well as corporate

protections and pardons for their wrongdoings. To all those that continue to be

subjected to the government’s injustices, we humbly stand with you, and we ask now

that you stand with us.” (PSR ¶ 28).

      More specifically, Montoya and Reznicek assert the complicity of the federal

courts, arguing they “gave permission to lie and withhold information from the public

resulting in a complete media blackout.” (PSR ¶ 28). As a result, Montoya and

Reznicek viewed sabotage of the DAPL “as an opportunity to encourage public

discourse surrounding nonviolent direct action as well as exposing the inadequacies

of the government and the corporations they protect.” (PSR ¶ 28).

      Montoya and Reznicek go on to describe their frustration with legal avenues of

protest, including but not limited to public commentary hearings and environmental




inspections are conducted by state regulatory agencies, which are responsible for
regulation, inspection, and enforcement of pipelines within state boundaries. The
state agency regulations must be at least as stringent as the federal regulations.
https://www.ncsl.org/research/energy/state-gas-pipelines-federal-and-state-
responsibili.aspx
2 https://iub.iowa.gov/about-us/mission-vision-statements.



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impact statements, which led them to see the “clear deficiencies of our government to

hear the people's demands.” (PSR ¶ 28). As a result, Montoya and Reznicek conclude

the system is broken3 necessitating individuals to take direct action to remedy what

they perceived to be the government’s inadequacy. (PSR ¶ 28).

         Montoya and Reznicek then proceed to describe, in detail, the way they

targeted and destroyed equipment and infrastructure associated with the DAPL and

the locations where they did so. According to their statement, they provided said

detail in the hope that it would “inspire others to act boldly and peacefully.”

(PSR ¶ 28). When their calculated sabotage failed to garner sufficient media

attention, they concluded “the federal government and Energy Transfer Partners

colluded together to lie and withhold vital information to the public.” (PSR ¶ 28).

         While releasing such a statement may seem self-defeating, Montoya and

Reznicek made clear their intent:

         For some reason the courts and the ruling government value corporate
         property and profit over our inherent human rights to clean water and
         land. We are speaking publicly to empower others to act boldly, with
         purity of heart, to dismantle the infrastructures which deny us our
         rights to water, land, and liberty. We as civilians have seen the repeated
         failures of the government and it is our duty to act with responsibility
         and integrity, risking our own liberty for the sovereignty of us all.

    (PSR 28, Ex. 64).

         While stopping the DAPL may have been the immediate purpose of their

unlawful conduct, Montoya and Reznicek’s ultimate goal was to address “the broken




3 [T]he courts and public officials allowed these corporations to steal permissions from
landowners and brutalize the land, water, and people.


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federal government and the corporations they continue to protect.” A federal

government which they described as “more like a Nazi fascist Germany as each day

passes.” (PSR ¶ 28).

       Montoya argues that her conduct does not constitute a federal crime of

terrorism because her participation in the offense was directed exclusively at the

conduct of a private entity, Energy Transfer Partners. United States v. Tankersley,

537 F.3d 1100 (9th Cir. 2008).         In Tankersley, the district court concluded the

government failed to establish that the arson was calculated to retaliate against

government conduct. Id. at 1107. In so finding, the court pointed out that the

communique issued after the arson stated the offenders were targeting greedy

corporations without mentioning the government. Id.

       In contrast, as set forth above, Montoya and Reznicek clearly identify the

government as the target of their destructive conduct in their public statement issued

on July 24, 2017. While the term “federal crime of terrorism” is defined in 18 U.S.C.

§ 2332b(g), courts have recognized that “a terrorist is ‘any one who attempts to further

his views by a system of coercive intimidation.’’’ United States v. Christianson, 586

F.3d 532, 539 (7th Cir. 2009) quoting XVII Oxford English Dictionary 821 (2d ed.

1989); accord Webster’s Third New International Dictionary 2361 (1981) (“an

advocate or practitioner of terror as a means of coercion.’’). “The Oxford English

Dictionary goes on to explain that the ‘term now usually refers to a member of a

clandestine or expatriate organization aiming to coerce an established government

by acts of violence against it or its subjects.’’’ Id.




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      While it is true that the USSG §3A1.4(a) does not automatically apply to a

defendant convicted of destruction of an energy facility in violation of 18 U.S.C.

§ 1366(a), the enhancement does apply where defendant’s purpose was to “influence

or affect the conduct of government by intimidation or coercion, or to retaliate against

government conduct.” United States v. Stewart, 590 F.3d 93, 137 (2d Cir. 2009). The

fact that the only significant loss in this case was suffered by a private entity does

not negate the fact that Montoya and Reznicek made clear the target of their criminal

behavior by proclaiming, in front of a government agency, that:

      “[t]he DAPL is an issue that affects this entire nation and the people
      that are subject to its rule. With DAPL we have seen incredible issues
      regarding the rule of law, indigenous sovereignty, land seizures, state-
      sanctioned brutality, as well as corporate protections and pardons for
      their wrongdoings. To all those that continue to be subjected to the
      government's injustices, we humbly stand with you, and we ask now
      that you stand with us.”

(PSR ¶ 28).

      Montoya next argues that this evidence, which has been found to support

application of USSG §3A1.4(a) to her codefendant, does not establish her purpose in

committing this crime. While it is true that Montoya does not share her codefendant’s

history of protest and vandalism, it is also true that she conspired with Reznicek to

commit numerous acts4 of significant vandalism to the DAPL at numerous

construction sites in Iowa and South Dakota from November of 2016 to May of 2017.



4 November 8, 2016 (five pieces if heavy construction equipment destroyed by fire in
Buena Vista County, Iowa) (PSR ¶ 14); March 13, 2017 (hole burned into DAPL in
Mahaska County, Iowa) (PSR ¶ 15); March 17, 2017 (several holes burned into DAPL
in Cherokee County, Iowa) (PSR ¶ 16); March 17, 2017 (holes burned into DAPL in
Sioux County, Iowa) (PSR ¶ 17); March 17, 2017 (holes burned into DAPL in Lincoln


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       Moreover, immediately after jointly reading their statement on July 24, 2017,

Montoya and Reznicek picked up crow bars and damaged the sign identifying the

location of the Iowa Utilities Board, the state government agency responsible

regulating utility service for Iowans. Neither the words spoken by Montoya, nor her

actions in damaging the sign evidence an intent separate and apart from Reznicek.

Instead like Reznicek, Montoya’s actions in combination with her words clearly

establish her intent to influence or affect the conduct of government by intimidation

or coercion, or to retaliate against government conduct. Based upon the defendant’s

conduct and intent, USSG §3A1.4(a) applies in this case.

       3. Montoya’s conduct does not support a minor role reduction

       To be entitled to a minor role adjustment, a defendant must show not only that

she is a minor participant by comparison with other participants, but also “by

comparison with the offense for which he or she was held accountable.” United States

v. Bandstra, 999 F.3d 1099 (8th Cir. 2021) quoting United States v. Bush, 352 F.3d

1177, 1182 (8th Cir. 2003). “Merely showing that the defendant was less culpable

than co-conspirators is not sufficient if the defendant was deeply involved in the

offense.” Id.




County, South Dakota) (PSR ¶ 18); March 18, 2017 (hole burned into DAPL in Boone
County, Iowa) (PSR ¶ 19); April 9, 2017 (multiple fires targeting mounted
instrumentation and electrical conduits of the DAPL in Wapello County, Iowa) (PSR
¶ 22); April 27, 2017 (utilized accelerants to set fires targeting electrical junction box
of the DAPL in Buena Vista County, Iowa) (PSR ¶ 24); May 1, 2017 (attempted
vandalism of the DAPL in Minnehaha County, South Dakota) (PSR ¶ 25); and May
2, 2017 (hole burned into DAPL in Wapello County, Iowa) (PSR ¶ 26).


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      In this case, Montoya participated in a conspiracy to commit acts of significant

vandalism over a six-month period at more than 10 locations. Moreover, Montoya

jointly participated with Reznicek in a series of public events in which they celebrated

their “direct action,” and committed a final act of vandalism against the Iowa Utilities

Board, all to inspire other individuals to commit similar crimes.

      At no point in time during these engagements did Montoya ever distinguish

her role from that of Reznicek. Instead, they openly discussed the joint and voluntary

nature of their conduct. Even assuming she presents evidence to establish Reznicek

took the lead in planning and decision making, Montoya’s involvement was too

significant to qualify as that of a minor participant.

      4. Montoya is not entitled to a downward departure for voluntary disclosure

      Pursuant to USSG §5K2.16 when a defendant

      voluntarily discloses to authorities the existence of, and accepts
      responsibility for, the offense prior to the discovery of such offense, and
      if such offense was unlikely to have been discovered otherwise, a
      downward departure may be warranted. For example, a downward
      departure under this section might be considered where a defendant,
      motivated by remorse, discloses an offense that otherwise would have
      remained undiscovered. This provision does not apply where the
      motivating factor is the defendant’s knowledge that discovery of the
      offense is likely or imminent, or where the defendant’s disclosure occurs
      in connection with the investigation or prosecution of the defendant for
      related conduct.

      First, Montoya did not make voluntary disclosures to the “authorities.”

Instead, Montoya and Reznicek spoke at coordinated meetings of like-minded

individuals in Iowa and Minnesota. Moreover, Montoya was not motivated by

remorse or a willingness to accept responsibility for her actions. To the contrary,




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Montoya’s hope in publicly proclaiming her actions was to inspire other individuals

to take similar action against other pipelines or the government. As such, Montoya’s

actions are inconsistent with the stated purposes and spirit of this basis for

departure.

THE § 3553(a) FACTORS SUPPORT A SENTENCE OF 96 MONTHS’ PRISON

      The appropriate sentence to be imposed by the Court should be “sufficient but

not greater than necessary” to meet relevant sentencing objectives, which include:

      1.     the nature and circumstances of the offense and history and
             characteristics of the defendant;
      2.     the need for the sentence imposed –
                A. to reflect the seriousness of the offense, to promote respect for the
                    law, and to provide just punishment for the offense;
                B. to afford adequate deterrence to criminal conduct;
                C. to protect the public from further crimes of the defendant; and
                D. to provide the defendant with needed educational or vocational
                    training, medical care, or other correctional treatment in the most
                    effective manner;
      3.     the kinds of sentences available;
      4.     the guideline sentencing range;
      5.     any pertinent policy statement;
      6.     the need to avoid unwarranted sentence disparities among defendants
             with similar records who have been found guilty of similar conduct; and
      7.     the need to provide restitution to any victims of the offense.

See 18 U.S.C. § 3553(a). For the reasons that follow, the § 3553(a) factors support a

sentence of 96 months’ imprisonment.

      On July 24, 2017, Defendants Montoya and Reznicek released a public

statement wherein they admitted to committing numerous acts of vandalism and

property damage in the Iowa and South Dakota beginning on election night,

November 8, of 2016. (Ex. 2). However, in the months leading up to November 8, 2016,

several very similar incidents targeting DAPL construction sites had occurred.



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      In July of 2016, two bulldozers were destroyed by fire at a Jasper County DAPL

construction site. (PSR ¶ 10; Ex. 8, 9, 10). An oil filter removed from one of the

construction vehicles appeared to have been used to ignite the fire. (PSR ¶ 10). It was

later discovered that three bulldozers and a backhoe/log transport were similarly set

on fire at another DAPL construction site in Mahaska County that same night. (PSR

¶ 11; Ex. 11, 12, 13).

      On August 1, 2016, a DAPL employee discovered an excavator had been

destroyed by fire the previous weekend at a DAPL construction site in Jasper County

Iowa. (PSR ¶ 12; Ex. 14, 15, 16). Finally, on October 15, 2016, four construction

vehicles (three dozers and an excavator) were destroyed by fire at a Jasper County

DAPL construction site. (PSR ¶ 13; Ex. 17, 18). Investigators later determined that

newspapers soaked in fuel had been ignited in and around the engine compartment

and cab of the construction vehicles. (PSR ¶ 13). No one has claimed responsibility

for these crimes.

      The first arson claimed by Montoya and Reznicek occurred at a DAPL

construction site in Buena Vista County, Iowa, on November 8, 2016. (PSR ¶ 14). As

with the prior incidents, several construction vehicles (two Caterpillar side booms, a

Caterpillar excavator, a Caterpillar dozer, and a John Deere excavator) had been set

on fire and destroyed. (PSR ¶ 14; Ex. 22, 23, 24). The cause of the fire was determined

to be accelerant and motor oil poured into plastic coffee cans, lit with a match, and

placed in the cab or around the equipment. (PSR ¶ 14).




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      In March of 2017, Montoya and Reznicek began utilizing an acetylene torch to

cut holes in the DAPL. (PSR ¶ 15). On March 17, 2017, DAPL employees discovered

a small hole on the north side of the east pipeline that had appeared to have been

made with a blowtorch. (PSR ¶ 15; Ex. 25, 26). Fluid was leaking from the hole.

(PSR ¶ 15). On the same day at a DAPL construction site in Cherokee County, an

electrical worker discovered several holes had been cut in the pipeline with a cutting

torch. (i.e., acetylene torch) or similar tool. (PSR ¶ 16; Ex. 27, 28, 29). The pipeline

was unusable and required repair at considerable expense. (PSR ¶ 16).

      On the same day at DAPL construction sites in Sioux County, Iowa, Montoya

and Reznicek utilized an acetylene torch to compromise the DAPL at two separate

locations. (PSR ¶ 17; Ex. 30, 31, 32, 33, 34). Finally, on the same day in Lincoln

County, South Dakota, Montoya and Reznicek once again utilized an acetylene torch

to damage the pipeline in two obvious locations. (PSR ¶ 18; Ex. 35, 36, 37).

Responding agents in South Dakota immediately noticed a whistling or hissing sound

originating from the 30-inch diameter pipeline. (PSR ¶ 18). It was determined the

sound was caused by nitrogen gas escaping the pipeline from at least one of the

damaged areas. (PSR ¶ 18).

      On March 18, 2017, a member of the construction team observed a burned area

on the north side and east end of the pipeline at the Boone County DAPL construction

site. (PSR ¶ 19; Ex. 38, 40). While the DAPL was extensively burned, no penetration

of the pipe appeared to have occurred. (PSR ¶ 19). In addition to said damage, a

nearby shed was spray painted with the following statements “ur children need




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water,” “OIL IS DEATH,” and “Mni Wiconi” (a Lakota Native American saying

meaning water is life). (PSR ¶ 19; Ex. 39).

      By early April of 2017, Montoya and Reznicek had depleted the supplies

necessary to operate the acetylene torch. (PSR ¶ 28). As a result, they decided to

return to arson to sabotage the DAPL. (PSR ¶ 28). On April 9, 2017, Montoya and

Reznicek set three separate fires targeting mounted instrumentation and electrical

conduits controlling the DAPL valve site near Hendrick, Iowa. (PSR ¶ 22; Ex. 41, 42,

43, 44, 45). Gasoline was utilized to set fire to several tires underneath the

instrumentation and electrical structures of the DAPL, and next to a small building.

(PSR ¶ 22). Later that month on April 27, 2017, Montoya and Reznicek again utilized

accelerant-soaked towels to ignite tires around an electrical junction box at a DAPL

construction site in Buena Vista County, Iowa. (PSR ¶ 23; Ex. 46, 47, 48).

      In early May 2017, an individual was caught on camera at a Humboldt, South

Dakota DAPL valve site. (PSR ¶ 24; Ex. 49, 50). An on-site camera captured the

individual wearing black outerwear, gloves, a dark baseball cap, and possibly a dark

mask. (PSR ¶ 24; Ex. 50). The individual carried a yellow crate which appeared to

contain equipment associated with a hand-torch. (PSR ¶ 24; Ex. 50). Items and

clothing consistent with this description were later recovered from the residence

where Montoya and Reznicek were living. (PSR ¶ 24; Ex. 55-63). Witnesses observed

a female, wearing black clothing, a bandana, and a pink under shirt, carrying a milk

crate containing what they believed to be an acetylene torch. (PSR ¶ 24; Ex. 55-63).




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This individual later entered a car bearing Iowa plates before driving away.

(PSR ¶ 24).

      Finally, on May 2, 2017, authorities discovered that Montoya and Reznicek had

attempted to cut a hole in the pipeline at a DAPL site located in Hedrick, Iowa.

(PSR ¶ 25; Ex. 51, 52). The hole was made with a cutting torch and was similar to the

vandalism acts occurring between March 13 and 17, 2017. (PSR ¶ 25; Ex. 51, 52).

      The calculated tactics employed by Montoya and Reznicek to hinder and

destroy construction of the DAPL are extremely hazardous and dangerous. By using

accelerants to set fire to thousands of dollars worth of construction equipment and

using an acetylene torch to burn holes into a pipeline which would soon transport

natural gas, Montoya created an extremely dangerous situation. Her decisions and

conduct failed to take anything other than her own opinions and desires into

consideration. Certainly not the significant financial impact to the victim company

and the consumers who would benefit from the DAPL. (Ex. 65, filed under seal).

      Worse yet, subsequent to their attempts to sabotage the DAPL, Montoya and

Reznicek sought to multiply the impact of their criminal behavior by embarking on a

speaking tour designed to inspire and encourage other would-be terrorists. (Ex. 3, 5,

6, 7). On August 26, 2017, Montoya and Reznicek gave a presentation at the Iowa

City Public Library entitled Why We Acted: Finding Common Ground. (Ex. 5). During

this presentation, Montoya and Reznicek discussed their attempts to sabotage the

DAPL and encouraged those present to do the same. (Ex. 5A, 5B, 5E, 5F, 5G).




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Montoya and Reznicek bragged about not getting caught and railed against state

repression. (Ex. 5C, 5D, 5F).

      On September 29, 2017, Montoya spoke at a venue in Minneapolis entitled

Dismantling DAPL: A Conversation with Jess Reznicek and Ruby Montoya. (Ex. 6-1,

6-2). During this presentation, Montoya and Reznicek encouraged the audience to

“consider property destruction” as a means of stopping the pipeline (Ex. 6A), bragged

about evading criminal charges (Ex. 6B, 6E), discussed tactics to avoid detection

(Ex. 6C, 6D), and that burning the machinery was the right thing to do (Ex. 6E).

      There is also evidence that Montoya and Reznicek successfully motivated

others to engage in similar acts. (Ex. 4). In August of 2017, the Facebook page for

Shut Down Fossil Fuels apparently blocked an oil train from public travel. As part of

that post proclaiming this action, the group stated their “action is in solidarity with

Ruby Montoya and Jessica Reznicek - who successfully taught themselves how to

sabotage the Dakota Access pipeline (DAPL), delayed construction of DAPL for

weeks, and never got caught until they turned themselves in recently. We admire

their courage tremendously.” (Ex. 4).

                                   CONCLUSION

      The government’s recommendation in this case is based primarily on the

seriousness of the offense, including the danger, potential danger, and significant

financial loss caused by the actions of Montoya and Reznicek. In addition, the need

to afford adequate deterrence to criminal conduct, including criminal conduct




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Reznicek and Montoya sought to inspire, is also significant given their actions and

statements following their attempts to sabotage the DAPL.

         The government originally recommended a 180 month’ sentence for Reznicek.

On June 30, 2021, the Court sentenced Reznicek to 96 months imprisonment.

Therefore, to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct, along with recognition of the

severe impact of USSG §3A1.4(a) on Montoya’s criminal history category, the

government recommends a sentence of 96 months’ imprisonment.

                                                                Respectfully Submitted,

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CERTIFICATE OF SERVICE

I hereby certify that on July 19, 2022, I electronically
filed the foregoing with the Clerk of Court using the
CM ECF system. I hereby certify that a copy of this
document was served on the parties or attorneys of
record and the United States Probation Officer by:

____ U.S. Mail ____ Fax ____ Hand Delivery

 X ECF/Electronic filing        Other means (email)

UNITED STATES ATTORNEY

By:    /s/ Jason T. Griess
      Assistant U.S. Attorney



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